UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

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CONTINENTAL INSURANCE COMPANY,

Plaintiff, CV. ACTION 10-4586 (MLC)

V.

SECURI ENTERPRlSES, INC, SCOTT SANDERS,
MARCIE LYN URY-SANDERS, FRANK COVINO,
TERRY L. YOUNG, SR., KAMARA STEWAR ,
MAURICE PERDOME, KEVIN BROTHERS,
TASHA RATTRAY, PARIS NIMBHARD,
DEMETRIUSE FINCHER, JUCLA ADAMS,
GREGORY TERRY, JOHN and JANE DOES 1-5,
Fictitious names of persons who conspired to
conceal true nature of Secun' Enterprises, lnc.’s
business JOHN DOES 6-10, Fictitious names of
persons who may have claim or claims against
Securi Enterprises, lnc. arising out of motor vehicle
lncidents from April 2, 2008 to January 5, 2009,
JANE DOES 6-10, Fietitious names of persons

who may have claim or claims against Securi
Enterprises, Inc. arising out of motor vehicle
Incidents from April 2, 2008 to Janual'y 5, 2009,

Defendants.
- _______________________________________ x

 

MEMORANDUM OF LAW OF DEFENDANTS
SECURI ENTERPRISES, INC., SCOTT SANDERS
AN]) MARCIE LYN URY-SANDERS
IN SUPPORT OF MOTION FOR STAY OF ACTION
OR. ALTERNATIVELY. FOR STAY OF DEPOSITIONS

Preliminag_'y Statement
This memorandum of law is submitted by Defendants Securi Enterprises, Inc.
(“Securi”), Scott Sanders (“Mr. Sanders”) and Marcie Lyn Ury-Sanders (“Mrs. Sanders”)
(collectively, “Defendants”) in support of their motion for an order (1) staying the above-

captioned action pending the outcome of a pending criminal investigation in which Mr.

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Sanders is a target, or, alternatively, (2) staying the depositions of Mr. and Mrs. Sanders
for six months, with such stay to be revisited at the end of that period.

As discussed below, a stay of the action should be imposed in this case. All the
elements favoring a stay are present: (a) there is a close similarity of issues between this
case and the pending criminal investigation; (b) the criminal investigation is at a late
stage, resolution is likely within the next few months, and Mr. Sanders has been named as
a target, which means the criminal prosecutors intend to indict him; (c) the prejudice to
Defendants in Mr. and Mrs. Sanders being forced to choose between testifying (and
thereby surrendering their Fifth Arnendment privilege against self-incrimination) and
asserting the rights and being burdened with an adverse inference, outweighs the effects
of the delay of this action on Plaintiff Continental Insurance Company (“Continental”);
(d) the burden on the Court will be diminished by staying the action; and (e) the public
interest would be better served by staying this case so that the criminal investigation may
proceed to conclusion unimpeded Accordingly, a stay of the action pending the outcome
of the criminal investigation should be granted In the alternative and for the same
reasons, the Court should stay the depositions of Mr. and Mrs. Sanders for six months, at
the end of which period the stay should be re-evaluated depending on the status of the
criminal proceedings

STATEMENT OF FACTS
A. The Allegations in the Complaint

The Complaint in this case, dated August 25, 2009 (the “Complaint”) (a copy of

which is attached to the accompanying affidavit of leffrey C. Hoffrnan (“Hoffman Aff.”)

as Exhibit F), alleges, in general terms, that Defendants perpetrated a fraud against

Continental by submitting an application for automobile liability insurance for Secu.ri-

location, area of operation and number of vehicles, upon which Continental relied in first
issuing the policy and then renewing it (Complaint, Hoffman Aff., Ex. F at 1111 23-35).
`l'hereafter, after receiving numerous claims from persons involved in accidents with
Securi-registered vehicles, Continental allegedly learned that Defendants had made
material misrepresentations that had caused Continental to be liable to these claimants
and others unknown (td. at fm 36-48).
B. The Criminal Invest_lg' ation

On March 24, 2009, the United States Attomey’s Office for the Southern District
ofNew Yorlc issued nineteen grand jury subpoenas addressed to various entities
(Hoffman Aff. at 11 2 and Ex. A). Mr. Sanders retained Hoffrnan & Pollok LLP (“H&P”)
to represent him by, among other things, monitoring the status of the investigation
encompassed by the subpoenas (id.). The subpoenas each had riders that requested
production of documents concerning a number of entities, including Securi (z'd., Ex. B).
Additional material was subpoenaed in riders served in June 2009 (id., Ex. C) and
September 2009 (id. , Ex. D). The subpoena attachments and riders also seek the
production of documents concerning issuance of insurance, Taxi and Limousine
Comrnission applications and Mr. and Mrs. Sanders, among others (z`a'., Exs. C, D, F).

Over the course of time, H&P partner Jeifrey C. Hoffman (“Mr. Hofhnan”) met
with the Assistant United States Attorneys heading the investigation (id. at 11 3). In the
course of those meetings, Mr. Hoffman learned that the criminal investigation is a mail

and Wire-fraud investigation concerning Mr. Sanders and activities he was allegedly

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involved in related to owning and insuring vehicles in the livery industry (ia’.). When Mr.
Hoffman met the new prosecutors who were handling the investigation on January 15,
2010, he learned that Mr. Sanders is a target of the criminal investigation (z`a’.).

On October 25, 2010, the prosecutor caused a subpoena to be issued to an
accountant who prepares the tax returns of Mr. and Mrs. Sanders, as well as a limited
number of entities in which they have an interest (z‘d. at il 4, Ex. E). The issuance of this
subpoena signaled that the investigation was entering its culminating stage in that a target
and its related service providers who possess personal financial information are typically
subpoenaed later in the investigative process so as to attempt to avoid notice to the targets
(id.).

ARGUMENT

 

I. THE COURT SHOULD STAY THIS ACT.ION PENDING
THE OUTCOME OF THE CRIMINAL INVESTIGA'I`ION

“A court has discretion to stay a case if the interests of justice require it." Walsh

Secs., Inc, v. Crz`sz‘o Prop. Mgt., Lta’., 7 F. Supp.2d 523, 526 (D.N.J. 1998), citing United
States v. Kordel, 397 U.S. l, 12 n.27 (1970). Courts considering an application for a stay
of a civil action pending the determination of a criminal proceeding consider the
following six factors:

l) [T]he extent to which the issues in the criminal and civil

cases overlap; 2) the status of the case, including whether

the defendants have been indicted; 3) the plaintist interest

in proceeding expeditiously weighed against the prejudice

to plaintiff caused by a delay; 4) the private interests of and

burden on defendants; 5) the interests of the court; and 6)

the public interestl

Walsh, 7 F. Supp.2d at 527. Accord, Tucker v_ N. Y. Polz'ce Dept., Civ. Action No. 08-

2156, 2010 WL 703189, at *6 (D.N.J. Feb. 23, 2010); Kress v. Cilj) of Ventnor, Civil

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Action No. 08-1873, 2009 WL 750103, at *2 (D.N.J. Mar. 18, 2009); Warner v. Kozub,
Civil Action No. 05~2871, 2007 WL 162766, at *2 (D.N.J. lan. 18J 2007); Forman v.
Otlowskz` (]n re NJAffordab!e Homes Corp), Adv. Nc. 06-02115, 2007 WL 869577, at *5
(Bankr. D.N.J. Mar. 19, 2007). All these factors, taken together, favor staying this action
pending the outcome of the criminal proceedingsl

A. Overlap of Issues in Civil and Criminal Cases

This factor -- which has been described as the most important issue in
determining whether to grant a stay (Walsh, 7 F. Supp.2d at 527, quoting Milton Pollack,
Pamllel Civil and Crr'mz'nal Proceedfngs, 129 F.R.D. 201, 203 ( 1989)) -- favors a stay
here. As discussed above, the criminal investigation is inquiring into the activities of Mr.
and Mrs. Sanders, and of Securi. Twenty grand jury subpoenas have been issued to
various recipients, including Mr. Sanders’ accountant, each seeking information
concerning Securi, Mr. and Mrs. Sanders, the issuance of insurance, and the Taxi and
Limousine Commission (see I-Ioffman Aff., Exs. A, B, C, D, F). The Complaint deals
with an alleged fraudulent scheme involving obtaining insurance coverage for
automobiles registered by Securi, which were used as taxis.and./or private limousines for
hire, and in which Mr. and Mrs. Sanders allegedly participated (see id., Ex. E at iH[ 23-
48). Thus, a stay is warranted on the basis of this factor.

B. Status of Case

This factor also favors a stay here. Although most cases where stays are granted
involve situations where an indictment has been returned (see, e.g., Tucker, 2010 WL
703189, at *7; Warner, 2007 WL 162766, at *2), the Walsh court stated that “each case

must be evaluated individually. [Citation omitted.] lt is ‘still possible’ to obtain a stay,

even though an indictment or information has not yet been retumed, if the Government is
conducting an active parallel criminal investigation.” 7 F. Supp.2d at 527 (citing Volmar
Distribs., Inc, v. N. Y. Post Co., 152 F.R.D. 36, 38 (S.D.N.Y. 1993); quoting Parallel
Proceedings, 129 F.R.D. at 204).

Walsh itself -- described as “the seminal case on this issue in the District of New
Jersey,” Forman, 2007 WL 869577, at *5 -- illustrates a situation where a stay was
granted even though no indictment had yet been retumed, The civil complaint in that
case alleged that the defendants had perpetrated a broad Haudulent scheme involving
mortgage loans. At the time the civil action was brought, the U.S. Attorney in New
lersey was investigating that scheme and, although no indictments had yet been handed
down, the Governrnent had executed search warrants and issued subpoenas to several
defendants ln addition, the defendants had been notified that they were targets of the
criminal investigation In light of that, the Walsh court found that the individual
defendants were likely to feel compelled to assert their Fifth Amendment privilege
against self-incrimination at their depositions and in response to interrogatories; the court
also found that the status of the criminal investigation would likely lead to complications
in the civil case relating to discovery of other fact witnesses, some of whom might be
potential Govemment witnesses As a consequence, the court held that the second factor
warranted a stay even in the absence of an indictment 7 F. Supp.2d at 527-28.

The facts before this Couit are very similar to those in Walsh. Here, although no
indictments have been issued yet, the U.S. Attomey in the Southern District of New york
is actively investigating Defendants in connection With the matters alleged in the

Complaint, having issued nineteen grand jury subpoenas concerning Securi, Mr. and Mrs.

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Sanders, the obtaining of insurance and the Taxi and Limousine Comrnission, among
other things Mr. Hoffman has been notified that Mr. Sanders is a target of the criminal
investigation Most significantly, the prosecutor has issued a grand jury subpoena to Mr.
and Mrs. Sanders’ accountant, which signals that the investigation is reaching a terminal
phase that will likely result in the issuance of indictments against Mr. Sanders and
possibly others involved in this case, As a consequence, Mr. and Mrs. Sanders will
almost certainly assert their Fifth Amendment privilege against self-incrimination
(Hoffman Aff. at il 5). There is also at least the possibility that other witnesses from
whom discovery would be sought, such as former employees of Securi and possibly other
entities in which Mr. Sanders has an interest, would be potential Govemment witnesses,
thus complicating if not preventing discovery from them. Therefore, rather than try to
unravel that Gordian Knot, this action should be stayed until the criminal proceeding is
completed, at which point all these issues will be simplified.

C. Plaintiff’s Interest in Proceeding Irnmediately

Versus Preiudice to Plaintiff

This factor also favors a stay. This action is at a relatively early stage. Before the
transfer to this Court, there was some document discovery, with more to be requested,
and initial interrogatories were served and answered (Mr. Sanders asserted his Fifth
Amendrnent privilege in response to certain interrogatories). No depositions have yet
been taken Although Continental might protest that it will be prejudiced by the delay of
this case, the Walsh court, faced with similar protests, stated:

A stay could push back the resolution of the civil case by
several months or even years. Delays in civil cases are
fairly common, however. Walsh has asserted no injury that

is particularly unique Walsh’s financial losses are
undoubtedly continuing, as with any plaintiff during the

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pendency of a lawsuit However, Walsh is protected from
monetary harm by the delay by its ability to obtain interest
as part of its ultimate judgment

7 F. Supp.2d at 528.

Here, Continental will not suffer undue prejudice as a result of the delay and there
are no unique factors weighing in favor of expedited resolution of this case,1 Thus, a stay
is warranted on this basis as well.

D. Private Interests of and Burden on Defendants

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ln contrast with the minimal prejudice to Continental that might result from a
stay, the prejudice to Defendants from the denial cfa stay are likely to be significant At
the outset, Both Mr. and Mrs. Sanders are almost certain to assert their Fifth Amendment
privilege against self-incrimination in their depositions Continental will just as likely
ask for an adverse inference against them as to the questions with respect to which they
assert the privilege As the Walsh court observed,

[a]lthough the Supreme Court has held that it is not

unconstitutional to force a defendant into this choice

[between asserting the privilege and risking an adverse

inference or waiving the privilege] [citation omitted], a

court may nevertheless exercise its discretion to stay the

civil case in the interests of justice.”
7 F. Supp.2d at 528 (citing Baxter v. Palmigr`ano, 425 U.S. 308, 318-19, 96 S. Ct. 1551
(1976)). Moreover, the Government in the criminal proceeding will almost certainly seek

access to the discovery materials produced in this case, thereby further arming the

Government against Mr. and Mrs. Sanders This also will prejudice Defendants, by

 

' ln fact, there has already been delay of the resolution of this case that can be laid directly

at Continental’s feet. Continental initially brought this case in the Eastern District ofNew York,
despite the lack cfa basis for venue in that court. lt took over 10 months for that issue to be
resolved with the transfer to this Court.

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making even more uneven the playing field as between them and the Government
Accordingly, this case should be stayed on this basis.
E. Interests of the Court
This factor, too, tips the scale in favor of a stay. As the Walsh court observed,
“[t]he Court also has an interest in judicial efficiency in terms of managing its caseload. .
. . I-Iowever, the Court also has an interest in resolving individual cases efficiently.” Ia'.
at 528. As in Walsh, here the need for Mr. and Mrs. Sanders to assert their Fifth
Arnendment privilege will complicate the supervision of discovery for the Court. By
contrast, if the case is stayed until the criminal proceeding is resolved, none of those
issues will exist and the remainder of proceedings in this case can go forward unburdened
by those privilege issues. Considerations of judicial efficiency thus warrant a stay here.
F. Public Interest
This final factor also weighs in favor of a stay. No harm will be done to the
public interest if this case is stayed. There is no overarching public interest in this case
proceeding to completion at this time. As in Walsh:
In fact, a stay in this case would benefit the public interest
by allowing the Government to conduct a complete,
unimpeded investigation into potential criminal activity. In
this case, there is no tangible harm to the public from these
alleged frauds that could not be remedied by the criminal
investigation
Id. at 529, For the same reasons, a stay should be granted on this basis
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For all the foregoing reasons, the Court should stay this case pending the outcome

of the criminal proceedings

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II. IN THE ALTERNATIVE, THE COURT SHOULD STAY THE
DEPOSITIONS OF MR. AND MRS. SANDERS FOR SIX MONTHS

Even if the Court declines to stay the action as a whole, at a minimum it should
stay Mr. and Mrs. Sanders’ depositions for six months and revisit such stay at the end of
that period with an eye to either extending the stay or dissolving it, depending on the
facts on the ground at that time. See SEC v. Schzjf Civil Action No. 05-4132, 2006 WL
2690266 (D.N.J. Sept. 19, 2006) (after weighing Walsh factors, court found that stay of
discovery was appropriate). The Walsh court also endorsed the concept of a stay to be
revisited at the end of a specified time period (see 7 F. Supp.2d at 529). A six-month stay
of the depositions of Mr. and Mrs. Sanders Would temporarily alleviate the concerns
about their assertion of the privilege against self-incrimination, although it would not
necessarily eliminate the issue. I-Iowever, the Court could reconsider in six months
whether to extend the stay either in time or scope (or both), or vacate it if circumstances
at the time warranted

CONCLUSION

For all the foregoing reasons, the Court should issue an order either (1) staying
this action pending the outcome of the criminal investigation, or, alternatively, (2) staying
the depositions of Mr. and Mrs. Sanders for six months, with such stay to be revisited at
the end of that period.

Respectfully submitted,

HOFFMAN & POLLOK LLP

Byr w
William A. Rorne (9045)

Attomeys for Defendants Securf

Enterprises, Inc., Scott Erl'c Sanders

and Marcy Lyn- Ury Sanders

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Dated: November ll, 2010
OfCounsel:

William A. Rome
Lisa Rosenthal

260 Madison Avenue, 22"d Floor
New York, NeW York 10016

Tel: (212) 679-2900

Fax: (212) 679-1844

Email: WAROME@hpplegal.com

and

LAW OFFICES OF RICHARD
R. RIO PLLC

/7 '1
/<4(-/~., /. / rig
Richard R. Rio (2306) /

10 Sloan Street

South Orange, New lersey 07079
Tel: (973) 223-8222

Fax: (973) 821-5289

Email: RRio@richardriolaw.com

 

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